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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

United States of America



       v.                                            Docket No. 1:23-CR-60-JMC



William Keen

                   Defendant’s First Motion to Continue Sentencing

       Mr. Keen, through counsel, respectfully requests the court continue the currently

scheduled sentencing date. Mr. Keen’s counsel requires additional time to prepare for

sentencing, given scheduling conflicts and the demands other pending cases, both in trial

courts and in courts of appeal. Counsel is currently in a jury trial in this district in another

January 6 case that begins October 2 in front of the Honorable Judge Contreras. That case

has occupied a substantial amount of counsel’s available time in the past few weeks. See

1:21-CR-35-RC. Counsel is also currently scheduled to be in a jury trial in Lynchburg,

Virginia, on the date of this sentencing. In full candor to the court, that trial (in Lynchburg)

is likely to be continued, but it is currently still set to begin on October 12. Additionally,

counsel has undergone significant personal upheaval in the past month and has undergone

housing instability as a result. Should the court request, counsel can provide additional

information on this matter under seal and off the public record, so as not to cloud Mr.

Keen’s record. Counsel requested the position of the government, but as of this filing, has

not received a response. This is Mr. Keen’s first request for a continuance of his sentencing

hearing.

       Respectfully submitted,
       /s/ Benjamin Schiffelbein
       210 First Street, Roanoke VA 24011
       Benjamin_Schiffelbein@fd.org
       540 777 0880
